Case 3:23-cv-02351-MMA-MMP Document 1 Filed 12/28/23 PageID.1 Page 1 of 31



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 6

 7
                             UNITED STATES DISTRICT COURT
 8
                           SOUTHERN DISTRICT OF CALIFORNIA

 9
       UNITED AFRICAN-ASIAN                    Case No: '23CV2351 MMA MMP
 10    ABILITIES CLUB, ON BEHALF
 11
       OF ITSELF AND ITS                       COMPLAINT
       MEMBERS; JAMES LEE, An
 12    Individual                              DISCRIMINATORY
 13                                            PRACTICES
                           Plaintiffs,         [US Fair Housing Act of 1988 [42
 14
                                               U.S.C. §§ 3600 et seq, §3604(c),
 15          v.                                §3604(f)(1-3), et seq.; CA
                                               Government Code 12925, 12927,
 16
       HESS GENESEE PARK LLC;                  12955; CA Civil Code §§ 51, 52,
 17    AND DOES 1 THROUGH 10,                  54.3
 18
       Inclusive
                                               DEMAND FOR JURY TRIAL
 19                        Defendants.
 20
                                         INTRODUCTION
 21
      1.    Plaintiffs make the following allegations in this civil rights action:
 22                              JURISDICTION AND VENUE
 23   2.      The federal jurisdiction of this action is based on the 42 U.S.C. §§ 3601,
 24   3604 et. seq. - the U.S. Fair Housing Act Amendments of 1988 (Defendants’
 25
      apartment property consist of four (4) or more residential units), and 42 U.S.C. §
 26
      12101 et. seq., the federal Americans With Disabilities Act. Venue is proper in this
 27
      United States District Court for the Southern District of California pursuant to 28
 28

                       1
                                                                                     COMPLAINT
                                                                                        CASE #
Case 3:23-cv-02351-MMA-MMP Document 1 Filed 12/28/23 PageID.2 Page 2 of 31



 1
      U.S.C. § 1391(b), because a substantial part of Plaintiffs’ claims arose within said
 2
      Judicial District.
 3
                               SUPPLEMENTAL JURISDICTION
 4
      3.      This United States District Court for the Southern District of California has
 5
      supplemental jurisdiction over the California state claims as alleged in this
 6
      Complaint pursuant to 28 U.S.C. § 1367(a).
 7
                    NAMED DEFENDANTS AND NAMED PLAINTIFFS
 8
      4.    The term Plaintiffs as used herein specifically include the corporate Plaintiff
 9
      entity known as the United African-Asian Abilities Club, On Behalf Of Itself And Its
 10
      Members (hereinafter referred to as “Club” or “UAAAC”); and the individual
 11
      Plaintiff JAMES LEE (hereinafter referred to as “LEE” or the “named Individual
 12
      Plaintiff”. The Plaintiff Club and Plaintiff LEE are sometimes collectively referred
 13
      to as the “named Plaintiffs” or “Plaintiffs”.
 14
      5.    Plaintiff United African-Asian Abilities Club (UAAAC) is registered and in
 15
      good standing as a Nevada corporation. The named individual Plaintiff LEE is a
 16
      member of the Plaintiff Club organization.
 17
      6. Plaintiffs are informed, believe, and thereon allege that named Defendant HESS
 18
      GENESEE PARK LLC and is the operator of the apartment rental business known as
 19
      Genesee Park Apartments located at 3625 Earnscliff Place, San Diego, CA. 92111.
 20
      Plaintiffs are informed, believe, and thereon allege that Defendant HESS GENESEE
 21

 22
      PARK LLC, is the owner, operator, and/or lessor of the real property located at 3625

 23
      Earnscliff Place, San Diego, CA. 92111 (hereinafter referred to as the “Property”).

 24
      7.    Defendant HESS GENESEE PARK LLC, is, and at all times mentioned herein

 25
      were, a business or corporation or franchise, organized and existing and/or doing

 26
      business under the laws of the State of California. Defendants Does 1 through 10,

 27
      were at all times relevant herein subsidiaries, employers, employees, and/or agents of

 28

                           2
                                                                                 COMPLAINT
                                                                                    CASE #
Case 3:23-cv-02351-MMA-MMP Document 1 Filed 12/28/23 PageID.3 Page 3 of 31



 1
      the named Defendants.
 2
                                   CONCISE SET OF FACTS
 3
      8.    The named Individual Plaintiff Lee has hip and knee conditions, uses a device
 4
      for mobility, is unable to walk any distance, and also has a vision disability. Plaintiff
 5
      Lee is also a member of the Plaintiff Club. The individual Plaintiff Lee had specific
 6
      dates wherein he intended to go the Defendant’s Property to access Defendants’
 7
      rental services. Plaintiff Lee has actual knowledge of the overt and obvious physical
 8
      and communication barriers at Defendants’ Property. Plaintiff Lee determined that
 9
      the open and obvious physical barriers that exist at Defendants’ Property directly
 10
      related to his disabilities, and that it would be impossible or extremely difficult for
 11
      him to physically access Defendants’ on-site rental services. See ¶¶ 25. Plaintiff
 12
      Lee had knowledge of access barriers at the Property and determined that it would be
 13
      futile gesture for him to go to the Property on the date that he had intended. The
 14
      named Individual Plaintiff Lee was deterred by his actual knowledge of the physical
 15
      and communication barriers that exist at Defendants’ Property and also Defendants’
 16
      website communication barriers. As used herein, website means any internet website
 17
      where Defendants control the content. Exhibit B states the websites controlled by
 18

 19
      Defendants. Plaintiff Lee also attempted to access Defendants’ rental services on

 20
      Defendants websites but experienced great difficulty due to Defendants’ failure to

 21
      provide accessible website features.

 22
      9. The named Individual Plaintiff Lee attempted to use Defendants’ website to

 23
      access Defendants’ online rental services, but had great difficulty due to his

 24
      disabilities. The named Individual Plaintiff Lee also could not determine from

 25
      Defendants’ website content whether Defendants’ rental services at the property or
 26   off the property, and common areas at the property were physically accessible to
 27   him. The named Individual Plaintiff Lee requested that Plaintiff Club assist him to
 28

                       3
                                                                                  COMPLAINT
                                                                                     CASE #
Case 3:23-cv-02351-MMA-MMP Document 1 Filed 12/28/23 PageID.4 Page 4 of 31



 1
      obtain information regarding the physical accessibility of Defendants’ rental services
 2
      at the property and off-site. In response to the named Individual Plaintiff’s request,
 3
      Plaintiff Club sent one of its members to Defendants’ property. The named
 4
      Individual Plaintiff personally reviewed all the information and photographs of
 5
      Defendants’ property. As a result, the named Individual Plaintiff has actual
 6
      knowledge of the overt and obvious physical and communication barriers to
 7
      Defendants rental service at Defendants’ Property. The named Individual Plaintiff
 8
      determined that the open and obvious physical barriers that exist at Defendants’
 9
      Property directly related to his disabilities, and that it would be impossible or
 10
      extremely difficult for him to physically access Defendants’ on-site rental services.
 11
      See ¶¶ 25. The named Individual Plaintiff Lee had actual knowledge and determined
 12
      that it would be futile gesture for him to go to the Property on the date that he had
 13
      intended. The named Individual Plaintiff was deterred by his actual knowledge of
 14
      the physical and communication barriers that exist at Defendants’ Property and
 15
      website. The named Individual Plaintiff made a written request to Defendants’ for
 16
      an accommodation to have equal access to Defendants’ rental services and to
 17

 18
      eliminate the communication and physical barriers to Defendants’ rental services,

 19
      both online and at the property. At the end of this action, the named Individual

 20
      Plaintiff Lee intends to return to Defendants’ website and Defendants’ property to

 21
      obtain rental information and verify that the communication and physical barriers to

 22
      Defendants’ rental services are removed.

 23
      10.   The named Plaintiff Club is an organization that advocates on the behalf of its

 24
      members with disabilities when their civil rights and liberties have been violated.

 25
      Plaintiff Club and Plaintiff Lee investigated Defendants’ websites and apartment

 26
      Property in December, 2023. The named Plaintiffs investigated Defendants

 27
      apartment property and Defendants websites. Plaintiff Club member Sharon Riguer

 28

                       4
                                                                                  COMPLAINT
                                                                                     CASE #
Case 3:23-cv-02351-MMA-MMP Document 1 Filed 12/28/23 PageID.5 Page 5 of 31



 1
      investigated the Property on the Internet websites. Additional Plaintiff Club
 2
      members investigated Defendants websites and found that they did not provide equal
 3
      access. The results of the research from Club Member Sharon Riguer are contained
 4
      in the Exhibit B to this Complaint. Club members ascertained that Defendants’
 5
      rental services at Defendants Property were not physically accessible to Plaintiff Lee
 6
      by a Club member with a disability who went to Defendants’ apartment Property,
 7
      and said Club member attempted to access Defendants’ on-site rental services.
 8
      11.   Plaintiff Club diverted its time and resources from its normal purposes
 9
      because of Defendants’ service, policy, program and physical barriers to Defendants
 10
      rental services at Defendants’ websites and Property. Club personnel conducted
 11
      detailed Internet searches to determine if Defendants provide large print, deaf
 12
      interpreter, therapy animal, the required reasonable accommodation policy, and
 13
      required reasonable modification policy. Further, the Club retained contractors to
 14
      investigate said policies, to survey the property, to photograph the property, to
 15
      investigate when the Property was constructed, to investigate the Property ownership
 16
      and to have an access report prepared. Plaintiff Club also diverted staff to
 17
      investigate Defendants' Internet presence to determine compliance with the FHA and
 18
      ADA. Plaintiff Club also investigated Defendants' written rental materials such as
 19
      brochures, rental applications and leases. Moreover, Plaintiff Club made an oral
 20
      investigation to ascertain Defendants' companion animal, deaf interpreter and
 21

 22
      reasonable accommodation and reasonable modification policies. Plaintiff Club also

 23
      caused a physical access consultant to be retained to survey Defendants' facility.

 24
      Plaintiff Club’s findings regarding Defendants’ rental services and facilities were

 25
      incorporated into an Access Report. The Access Report also details the known overt

 26
      and obvious physical access violations at the Property, but it is not intended as an

 27
      exhaustive list of existing violations. Due to these necessary activities to investigate,

 28

                       5
                                                                                  COMPLAINT
                                                                                     CASE #
Case 3:23-cv-02351-MMA-MMP Document 1 Filed 12/28/23 PageID.6 Page 6 of 31



 1
      Plaintiff Club’s time and resources were diverted from its normal activity. Plaintiff
 2
      Club suffered injury and also suffered monetary damages due to the diversion of the
 3
      Club’s resources from its normal purposes.
 4
      12.   Plaintiffs allege that Defendants control, operate, and maintain website at
 5
      https://www.mygeneseepark.com/ where Defendants offer its rental services.
 6
      Additionally, Defendants provide rental services located at the Property.
 7
      13.   Plaintiffs allege that Defendants’ websites have a close nexus to Defendants’
 8
      physical site rental services because the websites refer to Defendants’ rental services
 9
      that are offered at Defendants’ property as well as elsewhere off the site. Therefore,
 10
      Plaintiffs allege that the websites are also places of public accommodation.
 11
      Defendants control the websites to the extent that Defendants can change the website
 12
      content to make modifications to comply with the FHA and ADA. Therefore,
 13
      Plaintiffs allege that Defendants can modify the content of Defendants’ websites to
 14
      improve access for Plaintiffs and people with disabilities.
 15
      14.   In this case, the named Plaintiffs allege that the Defendants failed to provide a
 16
      TTY number or the text messaging system for Plaintiffs and other people that are
 17
      deaf or people with speech conditions. Plaintiff Club members have a speech
 18
      disability. Moreover, Plaintiff Club alleges that the Defendants did not modify their
 19
      websites to eliminate non-readable text to allow the blind and people with low vision
 20
      to use the screen reader software to access the information on the website, yet they
 21

 22
      also failed to use large print on their websites. See Exhibit B to this Complaint.

 23
      Plaintiffs assert that most popular screen reader programs are called Jobs Access

 24
      With Speech or “JAWS” and Apple’s VoiceOver Software. Defendants actions

 25
      discriminate against Plaintiff Club, specifically Club members who have low vision

 26
      disabilities. Each of the Club members above cannot use the websites controlled by

 27
      the Defendants. Modifications to Defendants’ websites will not fundamentally alter

 28

                       6
                                                                                  COMPLAINT
                                                                                     CASE #
Case 3:23-cv-02351-MMA-MMP Document 1 Filed 12/28/23 PageID.7 Page 7 of 31



 1
      the rental services provided and will also not cause an undue burden to Defendants,
 2
      because the cost is less than One Thousand Dollars ($1,000).
 3
      15.   On December 3, 2023, and on a second subsequent date, Plaintiff Club
 4
      attempted to make a request to the Defendants for reasonable accommodation at the
 5
      property. On December 24, 2023, the named individual Plaintiff LEE and Plaintiff
 6
      Club emailed to the Defendants a written request for a reasonable accommodation.
 7
      In December, 2023, Plaintiff LEE and Plaintiff Club, mailed a written request for a
 8
      reasonable accommodation. Defendants failed to respond to both Plaintiffs requests
 9
      for reasonable accommodation as of the date of the filing of this Civil Complaint.
 10
      16.   Plaintiffs are not able to access Defendants rental services due to existing
 11
      overt and obvious communication and physical barriers to access Defendants’ rental
 12
      services both at its online website and at the property. Due to the overt and obvious
 13
      physical barriers as alleged herein below, which are required to be removed,
 14
      Plaintiffs requested that Defendants accommodate them to provide access to
 15
      Defendants’ rental services.
 16
      17.   The named Plaintiffs allege that an accommodation is also obvious when a
 17
      whole group of the protected persons requires it. For example, when the public
 18
      without disabilities are required to get up to a second level, the public would be very
 19
      disturbed if they were required to request steps to go up to second level. When the
 20
      accommodation is specific to a particular person with a disability, then that person
 21

 22
      may be required to make a request, because the accommodation is not obvious.

 23
      18.   Plaintiffs allege that they are not required to make a request for reasonable

 24
      accommodation and for auxiliary aids when the barriers to communication are overt

 25
      and obvious. However, in the present case, Plaintiffs did make such requests for

 26
      accommodation to eliminate overt and obvious barriers to its rental services

 27
      communications. Plaintiffs allege that providing effective contact information for

 28

                       7
                                                                                 COMPLAINT
                                                                                    CASE #
Case 3:23-cv-02351-MMA-MMP Document 1 Filed 12/28/23 PageID.8 Page 8 of 31



 1
      Defendants’ rental services on the internet is an obvious accommodation. The
 2
      general public does not need to request a contact number from the Defendant
 3
      apartment owner or operator when they desire to rent a place. Defendants provide the
 4
      contact number on their website. Therefore, Plaintiffs allege that Defendants are
 5
      required to provide the obvious accommodation of effective communication for
 6
      people that are deaf or with speech impediment on their website without a request.
 7
      Defendants must make their rental services accessible without the need for a prior
 8
      request. Furthermore, Defendants have a duty to remove architectural barriers and
 9
      communication barriers to their rental services without request.
 10
      19. Plaintiffs allege that there is disparate treatment on the internet related to the
 11
      amenities being offered to people without disabilities and people with disabilities.
 12
      All the below facts and the facts stated elsewhere herein have a disparate impact on
 13
      the disability community. The named Plaintiffs experienced and have knowledge of
 14
      the below facts that the Plaintiffs ascertained from Defendants’ websites. Defendant
 15
      operates an apartment property. The property is located at 3625 Earnscliff Pl, San
 16
      Diego, CA 92111. The property was built in 1985 and has 3 stories with 192 units.
 17
      The rent is approximately: $2,100 - $3,100. The internet provides a wealth of
 18
      information regarding the property. The internet advertises that the property has
 19
      amenities that include: Laundry Facilities, Controlled Access, Recycling, Elevator,
 20
      Disposal Chutes, Spa, Pool, High Speed Internet Access, Air Conditioning, Heating,
 21

 22
      Cable Ready, Trash Compactor, Tub/Shower, Intercom, Dishwasher, Disposal,

 23
      Pantry, Kitchen, Oven, Range, Refrigerator, Freezer, Carpet, Vinyl Flooring, Dining

 24
      Room, Office, Den, Vaulted Ceiling, Walk-In Closets, Linen Closet, Window

 25
      Coverings, Large Bedrooms, Balcony, Application Fee $50, Utilities Includes Water,

 26
      Trash Removal, Sewer, Lease Options 6 or 12 mo., No Pets Allowed, 1 space,

 27
      Assigned Parking. The property advertises on https://www.mygeneseepark.com/,

 28

                       8
                                                                                   COMPLAINT
                                                                                      CASE #
Case 3:23-cv-02351-MMA-MMP Document 1 Filed 12/28/23 PageID.9 Page 9 of 31



 1
      westsiderentals.com, apartmentfinder.com, forrent.com. It is very important to know
 2
      that on westsiderentals.com, apartmentfinder.com, forrent.com there is the equal
 3
      housing opportunity logo. The plaintiff alleges that there is disparate treatment on the
 4
      internet related to the amenities being offered to people without disabilities and
 5
      people with disabilities. For example, the tow signage was not installed. The
 6
      accessible parking space had an access aisle, which was not van accessible. The aisle
 7
      did not have the “no parking” included in the access aisle. The office had a high
 8
      threshold. There was no International Symbol of Accessibility signage. The Internet
 9
      does not state the accessible amenities at all. Also, the statement the “equal housing
 10
      opportunity statement” is misleading. In fact, the property is not completely
 11
      accessible. All the above facts and the facts stated herein have a disparate impact on
 12
      the disability community.
 13
      20.   On Defendants’ websites, they allow the public without deafness and without
 14
      speech impairments to participate by providing them with a telephone number to
 15
      call. However, Plaintiff Club members that are deaf and or with speech impairments
 16
      are denied equal access to participate because the Defendants do not have any
 17

 18
      effective communication.

 19
      21.   Defendants provide websites for people without disabilities to benefit from the

 20
      rental services without going to the apartments to learn about the properties.

 21
      However, for people with disabilities that require the access to the facility, the

 22
      Defendants do not provide any information on the websites regarding if the rental

 23
      services located both on or off the property are accessible. Moreover, the Defendants

 24
      provide the telephone number for the public to call to inquire about the rental
 25   services without providing any effective alternative communications for Plaintiffs
 26   and other people that are deaf or have speech impairments.
 27   22.   For people without disabilities, the Defendants provide all of the information
 28

                       9
                                                                                  COMPLAINT
                                                                                     CASE #
Case 3:23-cv-02351-MMA-MMP Document 1 Filed 12/28/23 PageID.10 Page 10 of 31



  1
       on their websites. For Plaintiffs with disabilities, Defendants require them to travel to
  2
       the Property to determine if it is accessible, then require them to request the effective
  3
       communication, and then thereafter to request a reasonable accommodation to the
  4
       overt and obvious communication barrier. Therefore, Defendants require Plaintiffs
  5
       and other people with disabilities to suffer a separate benefit.
  6
       23.   Additionally, the named Plaintiffs are alleging photograph discrimination
  7
       related to the physical access of each of the apartments within Exhibit B to this
  8
       complaint. The purpose of Defendants’ internet photographs is to entice perspective
  9
       renters to apply online or to contact the Defendants to rent a place. Defendants’
  10
       internet photographs only entice people without mobility disabilities. Defendants’
  11
       internet photographs exclude any photographs of any accessible features that would
  12
       aid the Plaintiffs. For example, there is no photograph of accessible parking. There
  13
       are no photographs of the accessible route to the rental services both on or off the
  14
       property. There are photographs of the accessible route to the rental services. There
  15
       are no photographs related to the access to get into and use the rental services. There
  16
       are no photographs related to the accessible route of the common area. There are no
  17

  18
       photographs of the accessible units. In fact, all the photographs lead a person with a

  19
       mobility disability to believe that the apartments are not accessible, or that they must

  20
       have someone go to the properties to make sure it is accessible. However, people

  21
       without disabilities are not required to go to the Property to see if it is accessible.

  22
       24.   Defendants websites and Defendants’ rental services are not integrated for

  23
       people with disabilities as required. Plaintiffs are required to request an

  24
       accommodation. People without disabilities can access the websites and the rental
  25   services without any problem, but Plaintiffs and other people with disabilities are
  26   required to request for separate rental services. People with mobility conditions are
  27   not integrated when using the websites because they must go to the apartments to
  28

                        10
                                                                                     COMPLAINT
                                                                                        CASE #
Case 3:23-cv-02351-MMA-MMP Document 1 Filed 12/28/23 PageID.11 Page 11 of 31



  1
       determine if they are accessible, but people without disabilities need only access
  2
       Defendants’ websites to determine they can use them. People that are blind and with
  3
       low vision disabilities must request help to read the website information because the
  4
       printed information is too small, but people without disabilities can access the
  5
       websites without asking for help. Plaintiffs and other people with deafness or people
  6
       with speech condition must ask for help calling the number on the websites, because
  7
       Defendants fail to provide a TTY number to contact, or Defendants fail to provide a
  8
       texting system. Defendants discriminated against the Plaintiffs.
  9
       25.   Plaintiff Club member went to Defendant’s apartment facilities at the Property
  10
       in December, 2023, and on a second subsequent date, to access the rental office. The
  11
       Named Individual Plaintiff has actual knowledge of Defendants’ overt and obvious
  12
       physical barriers, that relate to this Plaintiff’s disabilities, to Defendants’ Property
  13
       on-site rental office that this Named Individual Plaintiff intended to visit in
  14
       December, 2023, and on a second subsequent date, but this Plaintiff was deterred
  15
       from accessing Defendant’s rental office located on the Property. Defendants
  16
       provide rental information, rental applications, and other rental services on-site at the
  17
       Property. Defendants’ agents confirmed to the Plaintiffs that rental information,
  18
       rental applications, and other rental services were available on-site at the Property.
  19
       Defendants’ rental office at the Property is not accessible. Defendants’ path of travel
  20
       from the sidewalk to the rental office is not accessible since it has excessive slopes
  21
       without handrails, uneven surfaces, and step changes in level along the path. There
  22
       is an excessive and steep slope without handrails that must be traversed to access the
  23
       main entrance door leading into the complex from the public sidewalk serving the
  24
       complex. The path of travel leading directly up to the main entrance door of the
  25
       complex is made of cobblestone and fails to be a smooth and level surface. The
  26
       main entrance door leading into the complex fails to have the required smooth and
  27
       uninterrupted surface at the bottom of the door. The main entrance door leading into
  28

                        11
                                                                                     COMPLAINT
                                                                                        CASE #
Case 3:23-cv-02351-MMA-MMP Document 1 Filed 12/28/23 PageID.12 Page 12 of 31



  1
       the complex is not accessible due to a significant step change in level at the main
  2
       entrance door threshold that is not beveled or ramped. Defendant’s callbox is
  3
       located too high to be accessible. Defendants do not provide the required directional
  4
       signage as to the designated path of travel from the sidewalk to Defendant’s rental
  5
       office. Defendant’s rental office entrance is not accessible due to a significant step
  6
       change in level at the rental office door threshold that is not beveled or ramped. The
  7
       operating hardware on the rental office entrance is a round knob. The document
  8
       drop slot is mounted too high to be accessible. Additionally, The Named Individual
  9
       Plaintiff has mobility disabilities and these step changes in level, excessive slopes,
  10
       uneven surfaces, and the other stated issues cause the path of travel and the rental
  11
       office entry to be not accessible. Defendants failed to provide any directional
  12
       signage indicating an alternate accessible path of travel to the rental office.
  13
       Defendants provide “guest” parking but no disabled parking. Defendants failed to
  14
       provide the required fully compliant van accessible disabled parking for the rental
  15
       office. Defendants failed to provide a dimensionally compliant van accessible
  16
       disabled parking space and disabled parking access aisle, the required disabled
  17
       parking signage, including tow away signage, fine signage, ground markings, and
  18
       failed to locate said parking on a level surface and nearest the rental office.
  19
       Defendants also failed to provide compliant tow away signage. The Named
  20
       Individual Plaintiff requires the use of a compliant van accessible disabled parking
  21
       space to safely exit and re-enter the vehicle. Defendants’ failure to provide the
  22
       required compliant disabled parking, disabled parking access aisle, disabled parking
  23
       disability signage, access aisle, and disability ground markings, such that the Named
  24
       Individual Plaintiff is not able to safely park at Defendants’ establishment since the
  25
       individual Plaintiff may be precluded from exiting or re-entering the vehicle if the
  26
       disabled parking and disabled parking signage is not present and others park
  27
       improperly. Additionally, Defendants failed to provide the required accessible path
  28

                        12
                                                                                    COMPLAINT
                                                                                       CASE #
Case 3:23-cv-02351-MMA-MMP Document 1 Filed 12/28/23 PageID.13 Page 13 of 31



  1
       of travel from the parking area to the rental office since the existing path of travel
  2
       has step changes in level and slopes that exceed the maximum permitted.
  3
       Additionally, Defendants overt and obvious communication barriers were also
  4
       present at the rental office in December, 2023, and on a second subsequent date.
  5
       Defendants failed to provide any method of text communication with their rental
  6
       office and failed to publish any information as to how to initiate text communication
  7
       contact. The Named Individual Plaintiff had actual knowledge of these barriers at
  8
       Defendants’ Property that Plaintiff intended to visit, and the Named Individual
  9
       Plaintiff was deterred from accessing Defendants’ rental office at the Property again
  10
       in December, 2023. See Property photos in Exhibit B and Exhibit C.
  11
       26.   Plaintiff Club and the named Individual Plaintiff desire to make sure that
  12
       Defendants’ rental services at Defendants’ property and Defendants’ websites are
  13
       fully accessible to Plaintiff Club’s members, the named Individual Plaintiff, and
  14
       other people with disabilities. Plaintiff Club, its Club members, and the named
  15
       Individual Plaintiff all have actual knowledge of Defendants’ discriminatory
  16
       conditions, and they are currently deterred from attempting further access until the
  17
       barriers are removed. Plaintiff Club and the named Individual Plaintiff intend to
  18
       return to Defendants’ Property and Defendants websites at the end of this action to
  19
       obtain rental services, and to verify that the communication and architectural barriers
  20
       are removed. The named Plaintiffs’ intent to return is genuine. In this case, Plaintiff
  21
       Club has numerous members residing near Defendants Property. Plaintiff Club’s
  22
       members have actual knowledge of the discriminatory conditions as alleged herein
  23
       when the Plaintiff Club investigated the Property and the rental services and
  24
       determined that the Club members would not be able to use the rental services due to
  25
       the discriminatory conditions. Therefore, Plaintiff Club members were and are
  26
       deterred from visiting the properties. Plaintiff Members were not required to
  27

  28

                        13
                                                                                   COMPLAINT
                                                                                      CASE #
Case 3:23-cv-02351-MMA-MMP Document 1 Filed 12/28/23 PageID.14 Page 14 of 31



  1
       actually visit the properties. See Civil Rights Education & Enforcement Center v.
  2
       Hospitality Properties Trust, 867 F.3d 1093 (9th Cir. 2017). However, a member of
  3
       Plaintiff Cub did visit and attempt to access Defendants’ rental services at
  4
       Defendants’ property. Plaintiff Club and the individual Plaintiff have specific plans
  5
       to visit at the conclusion of this case to obtain rental information and to verify the
  6
       Defendants ceased its discriminatory conduct by removing communication and
  7
       physical barriers to access to the rental services.
  8

  9
        DISCRIMINATORY PRACTICES IN HOUSING ACCOMMODATIONS –
  10
       FAIR HOUSING ACT CLAIMS
  11
       27.   FHA Standing:
  12
             Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
  13
       complaint, Defendants discriminated against Plaintiffs in violation of FHA sections §
  14
       3604(f)(1- 3) and 42 § 3604(c), as further detailed below. As a result, the present
  15
       named Plaintiffs suffered injury as a result of Defendants discriminatory actions, and
  16
       named Plaintiffs now pray for damages, injunctive relief, declaratory relief, and
  17
       other relief as hereinafter stated. The Federal Fair Housing Act applies to
  18
       Defendants’ apartment complex since it has more than 4 residential units. FHA
  19
       standing is substantially broader than standing under the ADA due to the critically
  20
       important need of adequate availability of housing for the disabled. A potential
  21
       plaintiff is not even required to have an interest in renting a particular property or
  22
       dwelling to have standing. Smith v. Pacific Properties and Development Corp, 358
  23
       F.3d 1097, 1099 (9th Cir 2004) [Testers have standing to bring Fair Housing Act
  24
       claims, Id 1099, 1104]. Under the Act, any person harmed by discrimination,
  25
       whether or not the target of the discrimination, can sue to recover for his or her own
  26
       injury. See Trafficante v. Metropolitan Life Ins. Co., 409 U.S. 205, 212, 93 S.Ct. 364,
  27
       34 L.Ed.2d 415 (1972). “This is true, for example, even where no housing has
  28

                        14
                                                                                    COMPLAINT
                                                                                       CASE #
Case 3:23-cv-02351-MMA-MMP Document 1 Filed 12/28/23 PageID.15 Page 15 of 31



  1
       actually been denied to persons protected under the Act.” San Pedro Hotel v City of
  2
       Los Angeles, 159 F.3d 470, 474-475 (9th Cir 1998). In the present case, the named
  3
       Plaintiffs alleged they suffered the injury of discriminatory conduct by Defendants,
  4
       and that the named Plaintiffs suffered monetary and other damages as a result. The
  5
       named Plaintiffs seek injunctive relief as well as damages, both of which are
  6
       available under 42 USC § 3613(c). Assuming arguendo in the present case, that
  7
       prospective injunctive relief was not available to Plaintiffs due to mootness or
  8
       otherwise, which Plaintiffs dispute; the named Plaintiffs are still permitted to recover
  9
       damages under their federal FHA claims. Harris v Itzakhi, 183 F.3d 1043, 1050 (9th
  10
       Cir 1999) [During the appeal in Harris case, the plaintiff therein moved Three
  11
       Thousand (3000) miles away and her injunctive claims became moot. However,
  12
       Plaintiff’s claim for damages survived and was not affected]. In the present case,
  13
       while Plaintiffs can satisfy the injunctive relief prudential standing requirements, the
  14
       above Ninth Circuit Harris court authority makes it clear that those prudential
  15
       standing requirements for injunctive relief are not applicable to Plaintiffs FHA
  16
       damage claims. Hence, in the present case, Plaintiffs damage claims survive even if
  17
       prospective injunctive relief is not available. The present Plaintiff Club has
  18
       organization standing separately on its own under the FHA. Additionally, under the
  19
       FHA, Plaintiff Club has associational standing to assert its Club member claims
  20
       since it only seeks injunctive and declaratory relief as to its Club members. Plaintiff
  21
       Club and the named Individual Plaintiff have standing with respect to the following
  22
       FHA claims.
  23

  24
       CLAIM I: Discrimination In Violation of 42 § 3604(f)(1) - Failure To Have A
  25
       Policy For Receiving Prospective Tenant Accommodation Requests, Failure To
  26
       Train Staff, And Failure To Make The Policy Known To The Plaintiffs
  27
       28.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
  28

                        15
                                                                                  COMPLAINT
                                                                                     CASE #
Case 3:23-cv-02351-MMA-MMP Document 1 Filed 12/28/23 PageID.16 Page 16 of 31



  1
       complaint, the named Plaintiffs suffered discrimination by Defendants in violation of
  2
       this FHA section. This FHA statute states it is unlawful to discriminate in the sale or
  3
       rental, or to otherwise make unavailable or deny, a dwelling to any buyer or renter
  4
       because of a handicap of (A) that buyer or renter; (B) a person residing in or
  5
       intending to reside in that dwelling after it is so sold, rented, or made available; or…
  6
       §3604(f)(1) [emphasis added]. See Texas Dept. of Housing and Community Affairs
  7
       v Inclusive Communities Project, 135 S.Ct. 2507, 2519 (2015) [FHA statutory
  8
       scheme permits disparate impact claims, and those type of claims do not require
  9
       intent]. due to Defendants’ communication and architectural barriers, Defendants
  10
       discriminated against Plaintiffs by failing to have a policy, practice, or method for
  11
       Plaintiffs to make a reasonable accommodation request for equal access to their
  12
       rental services on their website or at their Property. Defendants have an affirmative
  13
       duty to have a policy, process to receive such accommodation requests and to
  14
       respond to said requests. See Giebeler v. M & B Associates, 343 F.3d 1143 (9th Cir.
  15
       2003). As a result, Defendant caused Plaintiffs to suffer disparate impact
  16
       discrimination.
  17

  18
       CLAIM II: Failure to Engage in Interactive Process In Violation Of The Fair
  19
       Housing Act And California Fair Employment And Housing Act
  20
       29.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
  21
       complaint, Plaintiffs suffered discrimination by Defendants in violation of FHA
  22
       section § 3604(f)(1) and § 3604(f)(2). Plaintiffs contend that Defendant failed to
  23
       engage in a good-faith interactive process to determine and to implement effective
  24
       reasonable accommodations so that Plaintiffs could gain equal access Defendants’
  25
       rental services, to apply for a lease, or to allow Plaintiffs to access Defendants’ rental
  26
       services both on or off the property and apartments.
  27

  28

                         16
                                                                                    COMPLAINT
                                                                                       CASE #
Case 3:23-cv-02351-MMA-MMP Document 1 Filed 12/28/23 PageID.17 Page 17 of 31



  1
       CLAIM III: Discrimination In Violation of 42 § 3604(f)(2)
  2
       30.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
  3
       complaint, the named Plaintiffs suffered discrimination by Defendants in violation of
  4
       this FHA section § 3604(f)(2). This FHA section states “it shall be unlawful to
  5
       discriminate against any person in the terms, conditions, or privileges of sale or
  6
       rental of a dwelling, or in the provision of services or facilities in connection with
  7
       such dwelling”. Plaintiffs more specific factual basis for this claim is set forth
  8
       above at ¶¶23-26 above. As previously stated, the named Individual Plaintiff was a
  9
       prospective renter and Plaintiff Club was also seeking rental housing on behalf of the
  10
       named Individual Plaintiff ¶¶8 – 26 above. In the instant case, Defendant’s rental
  11
       services located on the Property or off-site are “services” in connection with the
  12
       rental of a dwelling and the on-site or off-site rental services provided fall within the
  13
       FHA statute. In the instant case, the named Plaintiffs both assert that Defendant’s
  14
       failure to remove communication and architectural barriers to permit access to
  15
       Defendant’s on-site rental services contained is a separate, independent, actionable
  16
       violation of this FHA section § 3604(f)(2), even without reference to the ADA as a
  17
       predicate. Plaintiffs have alleged that Defendants’ Property has overt and obvious
  18
       physical barriers to access its rental services provided at the property. See ¶¶25 -26.
  19
       The 9th Circuit Smith court stated that the mere observation of overt architectural
  20
       barriers is actionable. Smith at 1104 [“To read an additional standing requirement
  21
       into the statute beyond mere observation, however, ignores that many overtly
  22
       discriminatory conditions, for example, lack of a ramped entryway, prohibit a
  23
       disabled individual from forming the requisite intent or actual interest in renting or
  24
       buying for the very reason that architectural barriers prevent them from viewing the
  25
       whole property in the first instance” (emphasis in original)]. The Smith court found
  26
       Defendants liable under this FHA subsection even though that case did not involve
  27
       ADA Title III claims. However, Plaintiffs did not just allege that Plaintiff Club
  28

                        17
                                                                                   COMPLAINT
                                                                                      CASE #
Case 3:23-cv-02351-MMA-MMP Document 1 Filed 12/28/23 PageID.18 Page 18 of 31



  1
       observed Defendant’s overt architectural barriers, but Plaintiffs alleged that a
  2
       Plaintiff Club member experienced the barriers, that the named Individual Plaintiff
  3
       had actual knowledge of Defendants’ communication and architectural barriers and
  4
       Plaintiff LEE was deterred from obtaining equal access to Defendant’s rental
  5
       services located thereon. Defendants also discriminated against Plaintiffs by failing
  6
       to modify its practices and policies to provide access via other methods of access to
  7
       its rental services located on or off the property site. Defendant’s failure to remove
  8
       the architectural and communication barriers to access its facilities and the rental
  9
       services located thereon, or failure to provide an accommodation to provide methods
  10
       of alternate access to their rental services, constitutes the prohibited discrimination,
  11
       separately and independently. Additionally, Defendant’s conduct is also prohibited
  12
       under ADA Title III and constitutes a second, separate, independent source of
  13
       discrimination against Plaintiffs in violation of FHA § 3604(f)(2). Since Defendants
  14
       discriminatory conduct involves Defendants’ rental facilities and its rental services
  15
       located therein, Plaintiffs assert any discriminatory conduct found in violation of
  16
       ADA Title III also constitutes prohibited “discrimination” under FHA § 3604(f)(2).
  17
       CLAIM IV: Discrimination In Violation of 42 § 3604(f)(3)(A and B only)
  18
       31.   Plaintiffs do not make any claim against Defendants for a failure to “design
  19
       and construct” pursuant to § 3604(f)(3)(C). Based on the facts plead at ¶¶ 8 - 26
  20
       above and elsewhere herein this complaint, Plaintiffs suffered discrimination by
  21
       Defendants in violation of FHA sections § 3604(f)(3)(A, B) only. The FHA requires
  22
       that “….[f]or the purposes of this subsection, discrimination includes-- (B) a refusal
  23
       to make reasonable accommodations in rules, policies, practices, or services, when
  24
       such accommodations may be necessary to afford such person equal opportunity to
  25
       use and enjoy a dwelling...” 42 § 3604(f)(3)(B). See also Giebeler v. M & B
  26
       Associates, 343 F.3d 1143 (9th Cir 2003). Defendants improperly refused Plaintiffs’
  27
       repeated written and other requests for an accommodation to have equal access to its
  28

                        18
                                                                                    COMPLAINT
                                                                                       CASE #
Case 3:23-cv-02351-MMA-MMP Document 1 Filed 12/28/23 PageID.19 Page 19 of 31



  1
       rental services.
  2
       CLAIM V: Discrimination In Violation of 42 § 3604(c) As To NSA
  3
       32.   Based on information, belief, and the facts plead at ¶¶ 8 – 26 above and
  4
       elsewhere herein, Plaintiffs herein alleges that Defendants caused Plaintiffs to suffer
  5
       the injury of discrimination since Defendants violated 42 U.S.C. §§ 3604 (c) with
  6
       respect to its notices, statements, and advertisements (“NSA”). Plaintiffs allege that
  7
       Defendants discriminated against them when Defendants made, printed, or
  8
       published, or caused to be made printed, or published notices, statements, or
  9
       advertisements (“NSA”) that suggest to an ordinary reader a preference to attract
  10
       tenants without disabilities. Defendants' Internet advertising regarding its rental
  11
       services has an unlawful disparate impact on Plaintiffs.
  12

  13
       SECOND CAUSE OF ACTION : Violation of California Fair Housing Act
  14
       33.     Failure to Provide Obvious Reasonable Accommodation and Modification:
  15
       Based on information, belief and the facts stated above at ¶¶ 8 – 26 above and
  16
       elsewhere in this complaint, Plaintiffs allege that Defendants refused to make
  17
       reasonable accommodations in rules, policies, practices, or services in violation of
  18
       CA Government Code sections 12927 and 12955.2, when these accommodations
  19
       may be necessary to afford a disabled person equal opportunity to use and enjoy
  20
       Defendants’ rental services. As stated in detail above, Defendants refused to make
  21
       reasonable accommodations with the instant Plaintiffs and discriminated against each
  22
       of them on the basis of disability.
  23

  24
       THIRD CAUSE OF ACTION AGAINST ALL DEFENDANTS- Claims Under
  25

  26
       The Americans With Disabilities Act Of 1990

  27
       34.   ADA Standing:

  28

                          19
                                                                                  COMPLAINT
                                                                                     CASE #
Case 3:23-cv-02351-MMA-MMP Document 1 Filed 12/28/23 PageID.20 Page 20 of 31



  1
             ADA Title III does cover public and common use areas at housing
  2
       developments when these public areas are, by their nature, open to the general
  3
       public. An office providing rental services is open to the general public. (See U.S.
  4
       Department of Justice - ADA Title III Technical Assistance Section III-1.2000,
  5
       Illustration 3, office on or off the site covered). The parking and paths of travel to
  6
       the office on or off the site are also covered. See Section III–1.2000, ADA Title III
  7
       Technical Assistance Manual, http://www.ada.gov/taman3.html (“ILLUSTRATION
  8
       3: A private residential apartment complex contains a office on or off the site. The
  9
       office on or off the site is a place of public accommodation”). See Kalani v Castle
  10
       Village, LLC, 14 F.Supp.3d 1359, 1371 (E.D.Cal, 2014)[ citing Johnson v. Laura
  11
       Dawn Apartments, LLC, 2012 WL 33040 at *1 n. 1 (E.D.Cal.2012) (Hollows, M.J.)
  12
       (“[t]he leasing office of an apartment is a place of public accommodation.] . In the
  13
       present case, the named Plaintiffs have also sufficiently alleged that Defendants
  14
       provide rental services at the property. Following prior sister Circuit Courts of
  15
       Appeals decisions, our Ninth Circuit Court very recently held that an ADA Plaintiff
  16
       can be only a “tester” and have standing. See Civil Rights Education & Enforcement
  17
       Center v. Hospitality Properties Trust, 867 F.3d 1093 (9th Cir. 2017) [the Ninth
  18
       Circuit CREEC court held (1) ADA “tester” standing is valid and a Plaintiff’s
  19
       motivation for visit is “irrelevant”, and (2) an ADA “deterrent effect doctrine” claim
  20
       does not require a Plaintiff to have a personal encounter with the barrier to equal
  21
       access, only to have knowledge of the barrier] citing Havens Realty Corp. v.
  22
       Coleman, 455 U.S. 363, 372–74, 102 S.Ct. 1114 (1982); Smith v. Pacific Properties
  23
       and Development Corp, 358 F.3d 1097, 1102-1104 (9th Cir 2004); Chapman v. Pier
  24
       1 Imports (U.S.) Inc., 631 F.3d 939 (9th Cir 2011, en banc); Houston v. Marod
  25
       Supermarkets, Inc., 733 F.3d 1323, 1335–37 (11th Cir. 2013); Colo. Cross Disability
  26
       Coal. v. Abercrombie & Fitch Co., 765 F.3d 1205, 1210–11 (10th Cir. 2014). In the
  27
       present case, the named Plaintiffs each have ADA standing. Plaintiffs have alleged
  28

                        20
                                                                                   COMPLAINT
                                                                                      CASE #
Case 3:23-cv-02351-MMA-MMP Document 1 Filed 12/28/23 PageID.21 Page 21 of 31



  1
       that Defendants discriminated against Plaintiffs in violation of ADA Title III statutes
  2
       and regulations as detailed further in the ADA claims stated below. As a result, the
  3
       named Plaintiffs have each suffered injury and each seek only injunctive and
  4
       declaratory relief pursuant to their ADA Claims.
  5
       CLAIM I: Auxiliary Aids – Failure To Effectively Communicate
  6
       35.   42 United States Code 12182(b)(2)(iii) states, "a failure to take such steps as
  7
       may be necessary to ensure that no individual with a disability is excluded, denied
  8
       services, segregated or otherwise treated differently than other individuals because of
  9
       the absence of auxiliary aids and services, unless the entity can demonstrate that
  10
       taking such steps would fundamentally alter the nature of the good, service, facility,
  11
       privilege, advantage, or accommodation being offered or would result in an undue
  12
       burden;..." Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this
  13
       complaint, Plaintiffs are informed, believe, and thereon allege that Defendants
  14

  15
       violated said provision. Plaintiffs set forth the factual basis for this claim most

  16
       specifically at ¶¶ 13 -14, 16-24 above. The ADA “applies to the services of a place

  17
       of public accommodation, not services in a place of public accommodation. To limit

  18
       the ADA to discrimination in the provision of services occurring on the premises of a
  19   public accommodation would contradict the plain language of the statute.” Nat’l
  20   Fed’n of the Blind v. Target Corp., 452 F. Supp. 2d 946, 953 (N.D. Cal. 2006)
  21   (emphasis added) (citing Weyer v. Twentieth Century Fox Film Corp., 198 F.3d
  22   1104, 1115 (9th Cir. 2000) [holding that “whatever goods or services the place
  23   provides, it cannot discriminate on the basis of disability in providing enjoyment of
  24   those goods and services”]). An ADA plaintiff may challenge a business’ online
  25   offerings as well. So long as there is a “nexus”—that is, “some connection between
  26   the good or service complained of and an actual physical place”—a plaintiff may
  27   challenge the digital offerings of an otherwise physical business. See Gorecki v.
  28

                        21
                                                                                    COMPLAINT
                                                                                       CASE #
Case 3:23-cv-02351-MMA-MMP Document 1 Filed 12/28/23 PageID.22 Page 22 of 31



  1
       Hobby Lobby Stores, Inc, 2017 WL 2957736, at *4 (C.D. Cal. June 15, 2017) [Case:
  2
       CV 17–1131–JFW (SKx)]. The ADA requires the Defendants to provide effective
  3
       communication to the instant Plaintiffs and to people with disabilities. In the
  4
       present case, Plaintiffs experienced and have knowledge that Defendants failed to
  5
       have a required procedure to provide effective communication. Plaintiffs allege that
  6
       Defendants failed to train their staff on the way to use the auxiliary aids. Defendants
  7
       did not provide any auxiliary aid and the Defendants did not provide any reasonable
  8
       accommodation to the overt and obvious communication barriers, and failed to
  9
       respond to Plaintiffs’ requests for accommodation. Plaintiffs are not demanding that
  10

  11
       Defendants provide a specific reasonable accommodation or a specific auxiliary aid.

  12
       ADA law allows the Defendants to decide what auxiliary aid and reasonable

  13
       accommodation will be provided. In this case, however, Defendants failed to

  14
       provide any reasonable accommodation for the overt and obvious communication

  15   barriers to equal access to their rental services, failed to provide any auxiliary aid,
  16   and failed to provide any effective communication. Plaintiffs allege that Defendants’
  17   websites provide a contact number for the general public, but Defendants failed to
  18   provide Plaintiffs with the required effective communication using texting or other
  19   alternate means of communication for Plaintiffs and other people with a deaf
  20   condition or a speech condition. Defendants’ conduct discriminates against Plaintiff
  21   Club’s members that have hearing disabilities and Club’s members with speech
  22   disabilities. Defendants are required to provide, on Defendants’ websites, to provide
  23   a method to effectively communicate with Plaintiff Club members that have hearing
  24   and speech disabilities, and other people that are deaf or have speech impairments.
  25   CLAIM II: Denial of Participation
  26   36.   42 United States Code 12182(b)(1)(A)(i) states, "It shall be discriminatory to
  27   subject an individual or class of individuals on the basis of a disability or disabilities
  28

                        22
                                                                                    COMPLAINT
                                                                                       CASE #
Case 3:23-cv-02351-MMA-MMP Document 1 Filed 12/28/23 PageID.23 Page 23 of 31



  1
       of such individual or class, directly, or through contractual, licensing, or other
  2
       arrangements, to a denial of the opportunity of the individual or class to participate in
  3
       or benefit from the goods, services, facilities, privileges, advantages, or
  4
       accommodations of an entity." Based on the facts plead at ¶¶ 8 - 26 above and
  5
       elsewhere in this complaint, Plaintiffs are informed, believe, and thereon allege that
  6
       Defendants violated said provision. Plaintiffs set forth the factual basis for this claim
  7
       most specifically at ¶¶ 20-24 above. Defendants discriminated against Plaintiffs in
  8
       violation of 42 United States Code 12182(b)(1)(A)(i) and 42 U.S.C. § 12188.
  9
       CLAIM III: Participation in Unequal Benefit
  10

  11
       37.   Defendants provide unequal benefit for people with disabilities in violation of

  12
       42 United States Code 12182(b)(1)(A)(ii) and 42 U.S.C. § 12188. Based on the facts

  13
       plead at ¶¶ 8 - 26 above and elsewhere in this complaint, Plaintiffs are informed,

  14
       believe, and thereon allege that Defendants discriminated against Plaintiffs in

  15   violation of said provision. Plaintiffs set forth the factual basis for this claim most
  16   specifically at ¶¶ 20-24 above.
  17   CLAIM IV: Separate Benefit
  18   38.   Defendants’ photographs discriminate against Plaintiffs in violation of 42
  19   United States Code 12182(b)(2)(A)(iii) and 42 U.S.C. § 12188. Based on the facts
  20   plead at ¶¶ 8 - 26 above and elsewhere in this complaint, Plaintiffs are informed,
  21   believe, and thereon allege that Defendants discriminated against Plaintiffs in
  22   violation of said provision. Plaintiffs set forth the factual basis for this claim most
  23   specifically at ¶¶ 20-24 above.
  24

  25   CLAIM V: Integrated Settings
  26   39.   Defendants’ rental services are not integrated for Plaintiffs and people with
  27   disabilities in violation of 42 United States Code 12182(b)(1)(B) and 42 U.S.C. §
  28

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                                                                                     COMPLAINT
                                                                                        CASE #
Case 3:23-cv-02351-MMA-MMP Document 1 Filed 12/28/23 PageID.24 Page 24 of 31



  1
       12188. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  2
       Plaintiffs are informed, believe, and thereon allege that Defendants discriminated
  3
       against Plaintiffs in violation of said provision. Plaintiffs set forth the factual basis
  4
       for this claim most specifically at ¶¶ 20-24 above.
  5
       CLAIM VI: Failure To Modify Practices, Policies And Procedures
  6
       40.   Defendants failed and refused to provide a reasonable alternative by
  7
       modifying its practices, policies, and procedures in that they failed to have a scheme,
  8
       plan, or design to accommodate Plaintiff Club, its Club members, the individual
  9
       named Plaintiff, and/or others similarly situated in utilizing Defendants' rental
  10
       services, at its websites and at the Property, in violation of 42 United States Code
  11
       12182(b)(2)(A)(ii) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26
  12
       above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
  13
       allege that Defendants discriminated against Plaintiffs in violation of said provision.
  14
       Plaintiffs set forth the factual basis for this claim most specifically at ¶¶ 18-26 above.
  15
       CLAIM VII: Failure To Remove Architectural And Communication Barriers
  16
       41.   Plaintiffs allege that Defendants failed to remove architectural barrier and
  17
       communication barriers as required in violation of 42 United States Code
  18
       12182(b)(2)(A)(iv) and 42 U.S.C. § 12182. Based on the facts plead at ¶¶ 8 - 26
  19
       above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
  20
       allege that Defendants discriminated against the named Individual Plaintiff in
  21
       violation of said provision. Plaintiffs set forth the factual basis for this claim most
  22
       specifically at ¶¶ 8,9,20-24,25,26 above. The named Individual Plaintiff personally
  23
       reviewed all the information and photographs of Defendants’ property. As a result,
  24
       the named Individual Plaintiff has actual knowledge of the physical and
  25
       communication barriers that exist at Defendants’ Property. The named Individual
  26
       Plaintiff determined that the physical barriers that exist at Defendants’ property,
  27

  28

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                                                                                     COMPLAINT
                                                                                        CASE #
Case 3:23-cv-02351-MMA-MMP Document 1 Filed 12/28/23 PageID.25 Page 25 of 31



  1
       directly relate to his disabilities, and make it impossible or extremely difficult for
  2
       him to physically access Defendants’ rental services at the Property. The named
  3
       Individual Plaintiff was deterred by his actual knowledge of the physical and
  4
       communication barriers that exist at Defendants’ Property which include but are not
  5
       limited to the barriers to facilities and services for disabled parking, exterior path of
  6
       travel to the rental services at the property, entrance and interior, since said
  7
       Defendants’ facilities and rental services were not accessible because they failed to
  8
       comply with the Federal ADA Accessibility Guidelines (“ADAAG”) and California's
  9
       Title 24 Building Code Requirements. See ¶¶ 25 for details. The named Individual
  10
       Plaintiff had actual knowledge of these barriers and determined that it would be
  11
       futile gesture for him to go to the Property on the date that he had originally
  12
       intended. The named Individual Plaintiff is currently deterred from returning due to
  13
       his knowledge of the barriers. At the end of this action, the named Individual
  14
       Plaintiff intends to return to Defendants’ property or off the site location to obtain
  15
       rental information and verify that the communication and physical barriers to
  16
       Defendants’ rental services are removed. Defendants failure to remove the barriers
  17
       to equal access constitutes discrimination against the named Individual Plaintiff.
  18
       CLAIM VIII: Failure To Make Alterations Readily Accessible And Usable
  19
       42.   Defendants are required to make alterations to their facilities in such a manner
  20
       that, to the maximum extent feasible, the altered portions of the facility are readily
  21
       accessible to and usable by individuals with disabilities, including individuals who
  22
       use devices pursuant to 42 U.S.C. §12183(a)(2). Based on the facts plead at ¶¶ 8 -
  23
       26 above and elsewhere in this complaint, the named Plaintiffs are informed, believe,
  24
       and thereon allege that Defendants violated this provision. Plaintiffs allege that
  25
       Defendants altered their facility in a manner that affects or could affect the usability
  26
       of the facility or a part of the facility after January 26, 1992. In performing the
  27
       alteration, Plaintiffs allege that Defendants failed to make the alteration in such a
  28

                        25
                                                                                    COMPLAINT
                                                                                       CASE #
Case 3:23-cv-02351-MMA-MMP Document 1 Filed 12/28/23 PageID.26 Page 26 of 31



  1
       manner that, to the maximum extent feasible, the altered portions of the facility are
  2
       readily accessible to and usable by individuals with disabilities, including individuals
  3
       who use devices, in violation of 42 U.S.C. §12183(a)(2).
  4
       CLAIM IX: Administrative Methods
  5
       43.   Plaintiffs are informed, believe, and thereon allege that Defendants contract
  6
       with website providers without making sure that the websites will be accessible to
  7
       people with disabilities in violation of 42 United States Code 12182(b)(1)(B) and 42
  8
       U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this
  9
       complaint, Plaintiffs are informed, believe, and thereon allege that Defendants
  10
       discriminated against the named Individual Plaintiff in violation of said provision.
  11

  12
       Plaintiffs set forth the factual basis for this claim most specifically at ¶¶18-26 above.

  13
       CLAIM X: Screen Out
       44.   Plaintiffs are informed, believe, and thereon allege that Defendants screened
  14
       out Plaintiffs and other people with disabilities in violation of 42 United States Code
  15

  16
       12182(b)(2)(A)(i) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26

  17
       above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon

  18
       allege that Defendants discriminated against the named Plaintiffs in violation of said

  19
       provision. Plaintiffs set forth the factual basis for this claim most specifically at ¶¶ 8

  20
       - 26 above. Defendants screened out the named Plaintiffs from its rental services and

  21
       processes, because Defendants failed to remove architectural and communication

  22
       barriers to its website and property, failed to provide required effective alternate
  23   communication methods, and failed to provide required auxiliary aids.
  24

  25   CLAIM XI: Denial Of Full And Equal Access
  26   45.   Defendants are required to provide full and equal access to Defendants' rental
  27   services, goods, facilities, privileges, advantages, or accommodations pursuant to 42
  28

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                                                                                    COMPLAINT
                                                                                       CASE #
Case 3:23-cv-02351-MMA-MMP Document 1 Filed 12/28/23 PageID.27 Page 27 of 31



  1
       United States Code 12182(b) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶
  2
       8 - 26 above and elsewhere in this complaint, Plaintiffs are informed, believe, and
  3
       thereon allege that Defendants discriminated against the named Plaintiffs in violation
  4
       of said provision. Plaintiffs set forth the factual basis for this claim most specifically
  5
       at ¶¶ 8 - 26 above.
  6

  7
       CLAIM XII: Failure To Investigate And Maintain Accessible Features
  8
       46.    Defendants made repairs and administrative changes which violated ADA and
  9
       its regulations. See ADA Title III Regulations Sec.36.211 Maintenance of accessible
  10
       features. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  11
       Defendants failed to provide and then maintain any accessible features in its parking,
  12
       path of travel, on or off the property site for rental services and website rental
  13

  14
       services. Plaintiffs are informed, believe, and thereon allege that Defendants

  15
       discriminated against the named Plaintiffs in violation of this provision.

  16   CLAIM XIII: Association
  17
       47.    Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  18
       Plaintiffs are informed, believe, and thereon allege that Defendants discriminated
  19
       against the named Plaintiffs in violation of 42 U.S.C. § 12182(b)(1)(E)
  20

  21         DISCRIMINATORY PRACTICES IN PUBLIC ACCOMMODATIONS
  22          FOURTH CAUSE OF ACTION: ONLY THE INDIVIDUALL NAMED
  23   PLAINTIFF AGAINST ALL DEFENDANTS - CLAIMS UNDER CALIFORNIA
  24                                 ACCESSIBILITY LAWS
  25   CLAIM I: Denial Of Full And Equal Access
  26   48. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint, the
  27   named Individual Plaintiff was denied full and equal access to Defendants' goods.
  28

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                                                                                    COMPLAINT
                                                                                       CASE #
Case 3:23-cv-02351-MMA-MMP Document 1 Filed 12/28/23 PageID.28 Page 28 of 31



  1
       services, facilities, privileges, advantages, or accommodations within a public
  2
       accommodation owned, leased, and/or operated by Defendants as required by Civil
  3
       Code Sections 54, 54.1, and specifically 54.1(d). The factual basis for this claim is at
  4
       18-28 above.
  5
       CLAIM II: Failure To Modify Practices, Policies And Procedures
  6
       49.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  7
       the named Individual Plaintiff was denied full and equal access to Defendants' goods.
  8
       Defendants failed and refused to provide a reasonable alternative by modifying its
  9
       practices, policies, and procedures in that they failed to have a scheme, plan, or
  10
       design to assist Plaintiff Members and/or others similarly situated in entering and
  11
       utilizing Defendants' services as required by Civil Code § 54.1. The factual basis for
  12
       this claim is at 18-28 above.
  13
       CLAIM III: Violation Of The Unruh Act
  14
       50.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  15
       the individual, the named Individual Plaintiff was denied full and equal access to
  16
       Defendants' goods. Defendants violated the CA Civil Code § 51 by specifically
  17
       failing to comply with Civil Code §51(f). Defendants' facility violated state
  18
       disability laws, the ANSI Standards, A117, and California's Title 24 Accessible
  19
       Building Code by failing to provide equal access to Defendants’ facilities.
  20
       Defendants did and continue to discriminate against Plaintiff Members in violation
  21
       of Civil Code §§ 51(f), and 52. The factual basis for this claim is at 18-28 above.
  22
                  Treble Damages Pursuant To California Accessibility Laws
  23
       51.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  24
       only the named Individual Plaintiff prays for an award of treble damages against
  25
       Defendants, and each of them, pursuant to California Civil Code sections 52(a) and
  26
       54.3(a). Defendants, each of them respectively, at times prior to and including the
  27
       day the named Individual Plaintiff attempted patronized Defendants’ facilities and
  28

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                                                                                  COMPLAINT
                                                                                     CASE #
Case 3:23-cv-02351-MMA-MMP Document 1 Filed 12/28/23 PageID.29 Page 29 of 31



  1
       rental services, and continuing to the present time, knew that persons with physical
  2
       disabilities were denied their rights of equal access. Despite such knowledge,
  3
       Defendants, and each of them, failed and refused to take steps to comply with the
  4
       applicable access statutes; and despite knowledge of the resulting problems and
  5
       denial of civil rights thereby suffered by the named Individual Plaintiff. Defendants,
  6
       and each of them, have failed and refused to take action to grant full and equal access
  7
       to the individual Plaintiff in the respects complained of hereinabove. Defendants,
  8
       and each of them, have carried out a course of conduct of refusing to respond to, or
  9
       correct complaints about, denial of disabled access and have refused to comply with
  10
       their legal obligations to make Defendants’ public accommodation facilities and
  11
       rental services accessible pursuant to the ADAAG and Title 24 of the California
  12
       Code of Regulations (also known as the California Building Code). Such actions
  13
       and continuing course of conduct by Defendants in conscious disregard of the rights
  14
       and/or safety of the named Individual Plaintiff justify an award of treble damages
  15
       pursuant to sections 52(a) and 54.3(a) of the California Civil Code.
  16

  17
                           DEMAND FOR JUDGMENT FOR RELIEF:
  18
       A.     All named Plaintiffs seeks injunctive relief pursuant to 42 U.S.C. 3613(c) and
  19
       42 U.S.C. § 12188(a). Only the named Individual Plaintiff seeks injunctive relief
  20
       pursuant to CA Civil Code §52. Pursuant to 42 U.S.C. 3613(c), all Plaintiffs request
  21
       this court to enjoin Defendants to cease their discriminatory practices in housing
  22
       rental services, rental housing management services, and for Defendants to
  23
       implement written policies and methods to respond to reasonable accommodation
  24
       and reasonable modification requests. Pursuant to 42 U.S.C. § 12188(a), Plaintiffs
  25
       request this Court enjoin Defendants to remove all barriers to equal access to the
  26
       disabled Plaintiffs in, at, or on their facilities, including but not limited to
  27
       architectural and communicative barriers in the provision of Defendants’ rental
  28

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                                                                                      COMPLAINT
                                                                                         CASE #
Case 3:23-cv-02351-MMA-MMP Document 1 Filed 12/28/23 PageID.30 Page 30 of 31



  1
       services. Plaintiffs do not seek injunctive relief pursuant to Cal. Civil Code §55 and
  2
       Plaintiffs do not seek attorneys’ fees pursuant to Cal. Civil Code §55. Plaintiffs do
  3
       not seek any relief at all pursuant to Cal. Civil Code §55.
  4
       B.    All named Plaintiffs seek actual damages pursuant to 42 U.S.C. 3613(c).
  5
       However, Plaintiff Club only seeks damages for itself. Plaintiff Club does not seek
  6
       damages on behalf of its members;
  7
       C. Only the named Individual Plaintiff seeks recovery of actual damages pursuant
  8
       to Cal. Civil Code §§ 52 or 54.3;
  9
       D.    Only the named Individual Plaintiff seeks $4,000 in minimum statutory
  10
       damages pursuant to Cal. Civil Code § 52 for each and every offense of Civil Code §
  11
       51, pursuant to Munson v. Del Taco, (June 2009) 46 Cal. 4th 661;
  12
       E.    In the alternative to the damages pursuant to Cal. Civil Code § 52 in Paragraph
  13
       C above, only the named individual Plaintiff seeks $1,000 in minimum statutory
  14
       damages pursuant to Cal. Civil Code § 54.3 for each and every offense of Civil Code
  15
       § 54.1;
  16
       F.    All named Plaintiffs seek attorneys' fees pursuant to 42 U.S.C. 3613(c)(2), 42
  17
       U.S.C. § 12205, and Cal. Civil Code §§ 52, 54.3;
  18
       G.    Only the named individual Plaintiff seeks treble damages pursuant to Cal.
  19
       Civil Code §§ 52(a) or 54.3(a);
  20
       H.    The named Plaintiffs are seeking perspective injunctive relief to require the
  21
       Defendants to provide obvious reasonable accommodations, to provide the required
  22
       auxiliary aids and to modify Defendants’ procedures, practices, and policies of the
  23
       Defendants in the provision of Defendants’ rental services. Without perspective
  24
       relief the Plaintiffs will suffer future harm.
  25
       ///
  26
       ///
  27
       ///
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                                                                                 COMPLAINT
                                                                                    CASE #
Case 3:23-cv-02351-MMA-MMP Document 1 Filed 12/28/23 PageID.31 Page 31 of 31



  1
       I.    All named Plaintiffs seek a Jury Trial and;
  2
       J.    For such other further relief as the court deems proper.
  3

  4    Respectfully submitted:
  5
                                                    LIGHTNING LAW, APC
  6
       Dated: December 28, 2023
  7
                                             By:    /s/David C. Wakefield
  8                                                 DAVID C. WAKEFIELD, ESQ.
  9
                                                    Attorney for Plaintiffs

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                                                                         COMPLAINT
                                                                            CASE #
